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IN THE UNITED STATES DISTRICT COURT
FOR TI'IE WESTERN DISTRICT OF TENNESWH‘]" 1 1 &HH 95
WESTERN DIVISION dm
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UNITED STATES OF AMERICA,
Plaintiff,
v. No. 04”20320 Ma

ERIC CARL JOHNSON,

Defendant.

 

ORDER DENYING DEFENDANT'S MOTION FOR RECONSIDERATION

 

Defendant Eric Carl Johnson was indicted on charges related to
the manufacture of methamphetamine. On October 14, 2004, Johnson
filed a suppression motion asking the court to suppress the fruits
of a police search of Johnson's trailer. The court heard testimony
on the motion on February 17, 2005, and on March 17, 2005. The
court denied the motion in a bench ruling following the second day
of testimony. Before the court is Johnson’s motion for
reconsideration, filed April 7, 2005. The government filed a
response on April 19, 2005. For the following reasons, the court
DENIES Defendant's motion.

Johnson's motion asks the court to reconsider its denial of
his motions to suppress in light of the recent Sixth Circuit case
United. States v. Chambers, 395 F.3d 563 (6th. Cir. 2005). In
Chambers a Sixth Circuit panel upheld a district court’s decision

to suppress evidence from the search of a trailer in which

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to suppress evidence from the search of a trailer in which
methamphetamine was being manufactured. Johnson argues that
Chambers compels this court to similarly suppress evidence from the
search of Johnson’s trailer because the facts of the two cases are
“strikingly similar.” Johnson’s analysis, however, does not go
beyond the claim that the two cases are “strikingly similar.” He
states no facts or legal arguments in support of his assertion.

In Chambers the district court “suppressed evidence of a
methamphetamine laboratory seized by police officers as a result of
a warrantless search of a trailer home and garage on a remote
country road in a farming area of West Tennessee.” ld; at 565. The
Sixth Circuit described the facts of the case as follows:

[Police officers] knocked on a glass entry door of the
trailer home. A woman came to the glass door to answer
the knock. She retreated when she saw that the police
were at the door. She called out that there were police
at the door; and the police heard, according to Officer
Freeman, [one of the police officers at the door],
footsteps scurrying inside the trailer as the woman went
into another room. Freeman then used the knock and the
occupant’s refusal to talk as the justification for
entry. The police officers immediately went through the
door with guns drawn and into the trailer home to begin
their search. . . . After searching for a few minutes
and finding incriminating evidence, indicating an
operating meth lab, Officer Freeman read Chambers, the
owner, and his wife, their Miranda rights; and the
Chambers then signed a consent to search form at the
request of officer Freeman.

Id. at 568. Based on these facts, the Sixth Circuit panel agreed
with the district court's finding that “[c]onsidering the totality

of the circumstances . . . Chambers' consent was the product of the

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prior illegal entry into this residence. Accordingly, it is
submitted that the government has not carried its burden to show by
a preponderance of the evidence through clear and positive
testimony that Chambers’ consent was voluntary.” lc_la at 570.
Johnson's case also involves a police search of a trailer that
contained equipment for the manufacture of methamphetamine. In this
case, however, the court found that all parties with a privacy
interest in the trailer consented to a search of the trailer before
the police entered. (Transcript of Suppression Hearing on March 17,
2005, at 69.) The court also found that Johnson, who was under the
influence of methamphetamine at the time he consented, was capable
of giving permission to search. (Id. at 72.) Consequently, this
case materially differs from Chambers, in which the police only
obtained consent to search after they had already entered the
trailer with guns drawn and found incriminating evidence.

Accordingly, Defendant's motion for reconsideration is DENIED.

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So ORDERED this day of May 2005.

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SAMUEL H. MAYS, JR.
UNITED S'I`ATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

